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                    UNITED STATES COURT OF APPEALS                     FILED
                           FOR THE NINTH CIRCUIT                        OCT 11 2023
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS
JUNIOR SPORTS MAGAZINES INC.; et               No.   22-56090
al.,
                                               D.C. No.
                Plaintiffs-Appellants,         2:22-cv-04663-CAS-JC
                                               Los Angeles
 v.
                                               ORDER
ROB BONTA, in his official capacity as
Attorney General of the State of California;
DOES 1-10,

                Defendants-Appellees.

Before: LEE, SMITH, and VANDYKE Circuit Judges

      Appellant’s Motion For Injunction Pending Appeal (Dkt. No. 44) is

DENIED.
